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                                                          Exhibit A to the Complaint
Location: Altamont, NY                                                                                IP Address: 100.4.221.110
Total Works Infringed: 28                                                                             ISP: Verizon Fios
 Work      Hashes                                                                UTC          Site            Published    Registered   Registration
 1         Info Hash: 84334A63F692C21BBADBDE41EA6DCE2094F13749                       11-09-   Blacked Raw     11-22-2021   12-09-2021   PA0002325831
           File Hash:                                                                 2023
           BC5EB256A97511C998D74ABEDFBFD160265D7F794170A16BE77C3C191C6ED638        08:53:36
 2         Info Hash: 8F802495D9F998950120B2923534B8C4F6FFE588                       11-09-   Blacked Raw     11-08-2017   12-04-2017   PA0002097993
           File Hash:                                                                 2023
           2A3B523ABFD29DE3BB785B5ED803D20187B8621B8533FF17B60B6C4A283918CA        05:29:20
 3         Info Hash: 015181AD124AE5498E79825AB074251BE8A1C39D                       11-09-   Blacked         01-30-2020   02-20-2020   PA0002237624
           File Hash:                                                                 2023
           CE1EDB326FCF00EF25A9AD9B7AE4AE954569779FCD897560408E1131B1EAD0F1        03:52:39
 4         Info Hash: C57098AA8C19480D80B23E0E438A05B0F7A0D5CE                       10-25-   Vixen           07-31-2020   08-11-2020   PA0002252260
           File Hash:                                                                 2023
           F4E958D74FBA79A3E772EC806EB3FA5A7BBAAB26BB4B94270C0BE4C5AF073901        01:03:46
 5         Info Hash: CF168894F7F445F38B0B71F9B642165BE4644DFA                       10-24-   Vixen           09-13-2021   09-30-2021   PA0002319739
           File Hash:                                                                 2023
           DE463AC0FCB8087227ABC9E4AC4B6867B826319FF5F817EAC4ECF2B2FF5834D5        12:43:43
 6         Info Hash: DE4CE39EA1EF88D8D57CEA172537867147E8D59A                       10-23-   Blacked         04-10-2021   06-09-2021   PA0002295605
           File Hash:                                                                 2023
           ADEB1AB20685250229E39F9DF485ECB557F5BE8B77A463FF695128BEA2DEF2A4        16:52:54
 7         Info Hash: E42874D49E742B25BA4221AD25687EE9FE7EE531                       10-20-   Blacked         09-05-2020   09-29-2020   PA0002258686
           File Hash:                                                                 2023
           EF361F2C822CBD9481183D1B62C8522BB322C62F2E43767A9E0F4D54586F65D1        04:39:27
 8         Info Hash: B263A6BF860A42C4ED1561AF94B647A2603FA926                       10-07-   Tushy           09-03-2023   09-17-2023   PA0002430895
           File Hash:                                                                 2023
           4FF4002100A2AE94543DA11F5301A7C671673A60984F6D82B051F51D8B5390D6        16:25:58
 9         Info Hash: 683372AA8B27ADB64BE001869746C8D2A9B21656                       10-06-   Vixen           06-26-2020   08-03-2020   PA0002259094
           File Hash:                                                                 2023
           C600269B5D75CAC86022E4902B29E28D2C3959F19C797D73B3DBE084BE4B25C7        10:23:06
 10        Info Hash: A99B58E50CB2AE580AC2B5DE0E16EF78B6AA1228                       10-06-   Vixen           02-03-2023   03-07-2023   PA0002400312
           File Hash:                                                                 2023
           42917EFF8E51B116FF73F8C97B28D52B28A9125AFF1D4F7F7757F3E93A02209A        05:33:46
 11        Info Hash: 419789D96C972C69EFAEE49CED271AC4AE27C5B2                       10-06-   Vixen           01-29-2021   02-26-2021   PA0002283702
           File Hash:                                                                 2023
           36B31267256C99CE6531A908C2303EFAFE005E05DF12E742866312D5FE8EA78E        04:38:04
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Work   Hashes                                                             UTC         Site          Published    Registered   Registration
12     Info Hash: B247216EFDB8A0E21AB6FB9A18D95982FD24326E                   10-06-   Vixen         09-15-2023   10-18-2023   PA0002435602
       File Hash:                                                             2023
       7B2F4130FC2F32D44A1230ED6A87A42FBD33712C256D6F890DE4E67CD9BAA103    04:31:27
13     Info Hash: F9935F384B00F0858932B3B97C3FFCF40B81944C                   10-06-   Vixen         06-17-2022   06-27-2022   PA0002355040
       File Hash:                                                             2023
       03E099C5A29E92F85D233901C2846B043A81BDB6A7C06CBDF49D1634E3EAFBD1    04:24:58
14     Info Hash: AB3D99FD4AC39AE1C317B2AF0B4F0BF13DF08C71                   10-06-   Vixen         09-22-2023   10-18-2023   PA0002435594
       File Hash:                                                             2023
       629C5C96EA09429D3CCD2CB5AF6355D928933D29502C96465EF89B8246244E74    04:22:41
15     Info Hash: 1A5D33BE0A72FF09D224592BB9BE5AF23653CBEC                   10-06-   Vixen         10-16-2017   10-19-2017   PA0002090451
       File Hash:                                                             2023
       AEBC2FC7C87C4A9F6B378D59A816D0D2076449D154BDB48B0A6D80F5D3A7A363    02:36:11
16     Info Hash: ECA52B9A1B80416F03C3ACEC976E2ED38014CC4F                   09-29-   Blacked Raw   12-13-2018   02-02-2019   PA0002154971
       File Hash:                                                             2023
       47C6868436C92507316833817EF13261E785A20764BC44BAF6B1519DC68D4F54    20:40:21
17     Info Hash: 5A3C3EB7B8427E3E63F0DD3E19552F276B1ACC03                   09-29-   Blacked       01-14-2023   01-27-2023   PA0002393079
       File Hash:                                                             2023
       5B3BFE7689D6C94538CBFCBD644D0C6B5103C094C35388143BB20E2629107E9F    19:51:37
18     Info Hash: 203186C09CEA5D6E3A531D03552060EB2ADF757F                   09-29-   Tushy         07-15-2018   08-07-2018   PA0002132406
       File Hash:                                                             2023
       BBFD32230B8B5770A4D87B377D4579E7A8B72D7349AE1BCF00D1DC15CBA7B037    19:45:27
19     Info Hash: A00864522771B10693468CFCE6A03C679FF853F9                   09-29-   Vixen         01-08-2021   02-02-2021   PA0002280513
       File Hash:                                                             2023
       D5E0E681B4C6999CA8A338538F972D2F8D7C5BC38CEE1862F45C24FC6C289E0B    19:44:44
20     Info Hash: A51EE88C93B04112DED05A9A227DF31572542944                   09-29-   Blacked       06-17-2023   07-13-2023   PA0002420351
       File Hash:                                                             2023
       D520F62078DACDC817C99D923760AB2D79C6FDBA255BD2ACDD04355E5C32F205    15:25:42
21     Info Hash: 2AD4E468E6B7D010B564CECB42E5D69AFCC423A1                   09-28-   TushyRaw      08-16-2023   09-18-2023   PA0002431113
       File Hash:                                                             2023
       8492007A81CE28352A5E163DC8222137AE9648B97241D95106530FCE0E2B298C    23:56:26
22     Info Hash: 7AE09EDC105B7B9311D1044FC528E08108EB7AAE                   09-28-   TushyRaw      09-20-2023   10-18-2023   PA0002435608
       File Hash:                                                             2023
       123CCF5B34FB8EF6B4594B898DCF37A9CE8B3D83E67209A8DDC6745A7997CDE3    23:42:45
23     Info Hash: 6AFBB46048A14E900BC7B8F496C4BD28FCD0E3E7                   09-28-   TushyRaw      09-13-2023   10-18-2023   PA0002435599
       File Hash:                                                             2023
       7432CE5A92552E9D77F305649E8DD7117D2E353AE0CE44D74761806141682FD2    23:42:41
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Work   Hashes                                                             UTC         Site          Published    Registered   Registration
24     Info Hash: 66398382BCC2E15DC09127A577F3CCE8AE511CF9                   09-27-   Vixen         11-25-2017   01-04-2018   PA0002097450
       File Hash:                                                             2023
       96142AFBD69F78577190EE0DC1F263F58C40B3EE05235DDA6BB24A1F938ED172    16:09:23
25     Info Hash: 159FA51800BE66A83AA2939B81525F16B2F501AA                   09-27-   Vixen         07-18-2018   09-01-2018   PA0002119684
       File Hash:                                                             2023
       07011C3E929742E9DA47A07C444BF8698E3069704DEA04D1685244CB19E1869E    15:56:04
26     Info Hash: 094CCEB4584FDF67E74C3817011D0CAA2C8C29F1                   09-27-   Vixen         06-03-2018   07-09-2018   PA0002109331
       File Hash:                                                             2023
       79DDA98BFFA9A8EFD83E36ED11D191CBF4363E4FF079297245970E4AEFB6D3B4    15:55:52
27     Info Hash: E4AACA70568AEFD507AF2A33D47A41AC24D6C467                   09-27-   Vixen         04-24-2019   06-03-2019   PA0002178769
       File Hash:                                                             2023
       C7DC6993A1BE61C9938F24AC14904BD1E28433C574CE4E502B0A4AF66FE58743    05:04:57
28     Info Hash: 443E8983846661227A0B22FC67E717831E73C557                   09-22-   Blacked Raw   09-07-2020   09-29-2020   PA0002258685
       File Hash:                                                             2023
       F69BE4CD2DC035B8519D449C6D27200B06249E05B273DD8AA05C6A9A203E063A    00:46:22
